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                                                                                   USDC SDNY
UNITED STATES DISTRICT COURT                                                       DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                                      ELECTRONICALLY FILED
H. Cristina Chen-Oster, Shanna Orlich, Allison Gamba,                              DOC #: _________________
and Mary De Luis,                                                                  DATE FILED: 5/15/2023

                                     Plaintiffs,

                  -against-                                                             10 Civ. 6950 (AT)

Goldman Sachs & Co. LLC and The Goldman Sachs                                      ORDER GRANTING
Group, Inc.,                                                                    PRELIMINARY APPROVAL
                                                                                   OF CLASS ACTION
                        Defendants.                                                  SETTLEMENT
ANALISA TORRES, District Judge:

         Plaintiffs H. Cristina Chen-Oster, Shanna Orlich, Allison Gamba, and Mary De Luis,

representing a class of female employees of Goldman Sachs & Co. LLC and The Goldman Sachs

Group, Inc. (collectively, “Goldman Sachs” or “Defendants”), filed this class action alleging

gender discrimination under Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq.,

and the New York City Human Rights Law, N.Y.C. Admin. Code § 8-101 et seq.1

         Before the Court is Plaintiffs’ Unopposed Motion for Preliminary Approval of Class

Action Settlement (the “Motion”), ECF No. 1439, the terms of which are set forth in a settlement

agreement attached as exhibit A to the declaration of Adam T. Klein in support of the Motion

(the “Settlement Agreement”), ECF No. 1441-1.2 See also ECF Nos. 1440–41. Having

reviewed the Motion, the Settlement Agreement, and all documents and exhibits submitted

therewith, the Court GRANTS the Motion and ORDERS as follows:

         1.       Preliminary Settlement Approval. Upon preliminary review, the Court finds

that the Settlement is fair, reasonable, and adequate to warrant providing Notice to the Settlement

Class and accordingly is preliminarily approved under Federal Rule of Civil Procedure 23(e)(1).


1
  The Court presumes familiarity with the facts and procedural history of this years-long litigation as set forth in the
Court’s prior orders. See, e.g., ECF No. 578 at 2–13; ECF No. 1337 at 2–5; ECF No. 1374 at 2–4.
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  Capitalized terms not otherwise defined herein have the meanings set forth in the Settlement Agreement.
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In making this determination, the Court has considered the monetary and non-monetary benefits

provided to the Settlement Class through the Settlement, the specific risks faced by the

Settlement Class in prevailing on their claims, the stage of the proceedings at which the

Settlement was reached and the discovery that was conducted, the effectiveness of the proposed

method for distributing relief to the Settlement Class, the proposed manner of allocating benefits

to Settlement Class Members, and all of the other factors required by Rule 23. The Parties are

directed to perform according to the terms of their Settlement Agreement, except as expressly

indicated otherwise by this Order or other ruling of this Court.

       2.      Jurisdiction and Venue. This Court has subject matter jurisdiction over this

matter pursuant to 28 U.S.C. § 1332(d), and has personal jurisdiction over the Parties and the

Settlement Class Members. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(1).

       3.      Settlement Class Representatives and Class Counsel. The Court

Hereby appoints Plaintiffs H. Cristina Chen-Oster, Shanna Orlich, Allison Gamba, and Mary De

Luis as Settlement Class Representatives to represent the Settlement Class. Additionally, the

Court hereby appoints the law firms of Outten & Golden LLP and Lieff Cabraser Heimann &

Bernstein LLP as Class Counsel for the Settlement Class.

       4.      Notice to Settlement Class Members. The proposed Notice Procedures set forth

in Section VI(C) of the Settlement Agreement and the Court-Approved Notice Settlement and

Final Approval Hearing attached to the Settlement Agreement as Exhibit 1 are hereby approved.

Non-material modifications to these items may be made with approval by the parties but without

further order of the Court.

       5.      Findings Concerning Notice. The Court finds that the proposed form, content,

and method of giving Notice to the Settlement Class as described in the Notice Procedures:



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(1) will constitute the best practicable notice to the Settlement Class; (2) are reasonably

calculated, under the circumstances, to apprise Settlement Class Members of the pendency of the

Litigation, the terms of the proposed Settlement, and their rights under the proposed Settlement,

including but not limited to their rights to object to or exclude themselves from the proposed

Settlement and other rights under the terms of the Settlement Agreement; (3) are reasonable and

constitute due, adequate, and sufficient notice to all Settlement Class Members and other persons

entitled to receive notice; and (4) meet all applicable requirements of law, including under the

U.S. Constitution and Rule 23. The Court further finds that the Notice is written in plain

language, uses simple terminology, and is designed to be readily understandable by Settlement

Class Members.

       The Settlement Administrator is directed to carry out the Notice in accordance with the

Settlement Agreement.

       6.      Settlement Administrator. The Court appoints Rust Consulting, Inc. as the

Settlement Administrator, with responsibility for class notice and claims administration. The

Settlement Administrator is directed to perform all tasks the Settlement Agreement requires. The

Settlement Administrator’s Fees will be paid pursuant to the terms of the Settlement Agreement.

       7.      Exclusion from the Settlement Class. Settlement Class Members may request

exclusion from the Settlement by “opting out.” Any Settlement Class Member who wishes to

exclude themselves from the Settlement must mail or email to the Settlement Administrator an

Opt-Out Statement. The Opt-Out Statement must contain the full name, address, and telephone

number of the Settlement Class Member who seeks to opt out to be valid. The Opt-Out

Statement should include the statement: “I elect to exclude myself from the Settlement in the

Goldman Sachs Gender Class Action. I understand that I will not be entitled to any money under



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the Settlement.”

       (a)         To be effective, such an Opt-Out Statement must be sent via email or mail and

                   postmarked no later than forty-five (45) days after the Notice was first sent.

                   The postmark of the mailing envelope or email date shall be the exclusive

                   means used to determine whether a request for exclusion (opt-out) has been

                   timely submitted.

       (b)         The Opt-Out Statement must be physically signed by the Settlement Class

                   Member who seeks to opt out and sent in the mail or scanned and attached to

                   an email to the Settlement Administrator. No opt-out request may be made on

                   behalf of a group of Class Members.

       (c)         Except for those Settlement Class Members who submit a timely and valid

                   Opt-Out Statement requesting exclusion, all other Settlement Class Members

                   will be Participating Settlement Class Members for all purposes under the

                   Agreement, and upon the Effective Date (as defined in the Settlement

                   Agreement), will be bound by its terms, including, but not limited to, the

                   Releases in Section VII.A of the Settlement Agreement.

       (d)         If the proposed Settlement is finally approved, any Settlement Class Member

                   who has not submitted a timely and valid Opt-Out Statement shall be a

                   Participating Settlement Class Member and shall be bound by all subsequent

                   proceedings, orders, and judgments in the Action, even if the Settlement Class

                   Member has pending, or subsequently initiates, litigation against Defendants

                   or any of the Released Parties relating to any of the Released Claims.




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       8.      Objections and Appearances. Any Settlement Class Member who has not

submitted a timely and valid Opt-Out Statement and who complies with the requirements below

may object to any aspect of the proposed Settlement either on her/their own or through an

attorney hired at her/their expense. Any Settlement Class Member who wishes to present

objections to the Settlement at the Final Approval Hearing must first do so in a Notice of

Objection.

       (a)        The Notice of Objection must contain the full name, address, and telephone

                  number of the Settlement Class Member, and must be physically signed by the

                  Settlement Class Member. The Notice of Objection must contain a written

                  statement setting out the basis for the objection, with any supporting facts or

                  law. To be considered, the Notice of Objection must be mailed or emailed to

                  the Settlement Administrator no later than forty-five (45) days after the date

                  the Notice was first sent. The postmark or email date of the Notice of

                  Objection shall be the exclusive means for determining that a Notice of

                  Objection is timely. Settlement Class Members who fail to make objections

                  in the manner specified herein shall be deemed to have waived any objections

                  and shall be barred from making any objection (whether by appeal or

                  otherwise) to the Settlement.

       (b)        An objecting Settlement Class Member who wishes to appear at the Final

                  Approval Hearing must file with the Clerk of the Court a statement that

                  she/they intend to appear at the Final Approval Hearing no later than twenty-

                  one (21) days prior to the Final Approval Hearing. The Notice of Intention to

                  Appear must include copies of any documents, exhibits, or other evidence that



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         the objecting Settlement Class Member (or her/their counsel) propose to

         present to the Court at the Final Approval Hearing. Any objecting Settlement

         Class Member who does not provide a timely and valid Notice of Intention to

         Appear consistent with these requirements and any other requirements set out

         in the Notice, and who has not filed an objection in complete accordance with

         the deadlines and other specifications set forth in this section and the Notice,

         may be barred from being heard at the Final Approval Hearing subject to the

         Court’s discretion. Any objecting Settlement Class Member may withdraw

         her/their objection at any time by mailing or emailing the Settlement

         Administrator.

 (c)     Any lawyer representing an objecting Settlement Class Member for the

         purpose of raising an objection to the Settlement must file a Notice of

         Appearance with the Court no later than twenty-one (21) days prior to the

         Final Approval Hearing and must also serve copies of the Notice of

         Appearance and copies of any documents, exhibits, or other evidence that the

         objecting Settlement Class Member proposes to present to the Court at the

         Final Approval Hearing by email to counsel for the Parties.

 (d)     Any Settlement Class Member who fails to object to the Settlement in the

         manner described in the Agreement, the Notice, and this Order shall be

         deemed to have waived any such objection, shall not be permitted to object to

         any terms or approval of the Settlement at the Final Approval Hearing, and

         shall be foreclosed from seeking any review of the Settlement or the terms of

         the Agreement by appeal or other means.



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       9.      Final Approval Hearing. A Final Approval Hearing shall be held on October

3, 2023, at 1:00 p.m., in the United States District Court for the Southern District of New York,

Courtroom 15D, 500 Pearl Street, New York, NY 10007. The hearing will determine, inter alia,

whether: (1) the Settlement should be approved as fair, reasonable and adequate, and finally

approved pursuant to Rule 23(e); (2) Judgment should be entered and this Litigation should be

dismissed with prejudice pursuant to the terms of the Settlement Agreement; and (3) Class

Counsel’s application for an Attorneys’ Fees award and/or Settlement Class Representatives’

application for a Service Award should be approved. Class Counsel shall file Plaintiffs’ Motion

for Final Approval by August 29, 2023. The Parties shall file any responses to objections by

September 19, 2023.

       10.     Continuance of Final Approval Hearing. If the Court determines that the Final

Approval Hearing should not occur at an in-person hearing but rather through remote means, the

Court shall issue a subsequent order. The Court reserves the right to adjourn or continue the

Final Approval Hearing and related deadlines without further written notice to the Settlement

Class. If the Court alters any of those dates or times, the revised dates and times shall be posted

on the settlement website maintained by the Settlement Administrator. The Court may approve

the Settlement Agreement, if appropriate, without further notice to the Settlement Class

Members.

       11.     Attorneys’ Fees and Expenses, and Service Awards. Class Counsel

shall file their motion requesting Class Counsel Attorneys’ Fees and Class Counsel Litigation

Expenses and Service Awards for each of the Settlement Class Representatives no more than

thirty (30) days after the Initial Mailing Date of the Notice.

       12.     Termination of Settlement. This Order shall become null and void and shall be



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without prejudice to the rights of the parties, all of whom shall be restored to their respective

positions existing immediately before the Court entered this Order, if: (1) the Settlement is not

finally approved by the Court or is terminated in accordance with the Settlement Agreement; or

(2) there is no Effective Date. In such event, the Settlement and Settlement Agreement shall

become null and void and be of no further force and effect, and neither the Settlement

Agreement nor the Court’s orders, including this Order, relating to the Settlement shall be used

or referred to for any purpose whatsoever.

       13.     Use of Order. This Order shall be of no force or effect if the Judgment is not

entered or there is no Effective Date and shall not be construed or used as an admission,

concession, or declaration by or against Goldman Sachs of any fault, wrongdoing, breach, or

liability. Nor shall this Order be construed as an admission, concession, or declaration by or

against the Settlement Class Representatives or any other Settlement Class Member that her/their

claims lack merit or that the relief requested is inappropriate, improper, unavailable, or as a

waiver by any party of any defense or claims they may have in this Litigation or in any other

lawsuit.

       14.     Dispute Fund. A Dispute Fund shall be established and funded in accordance

with the terms of the Settlement Agreement.

       15.     Necessary Steps. The Court authorizes the Parties to take all necessary and

appropriate steps to implement the Settlement Agreement.

       16.     Schedule and Deadlines. With regard to the provisions of the Settlement

Agreement requiring the Parties to take certain actions within specified time periods (other than

deadlines set forth in this Order), Court approval will not be required for reasonable extensions

of deadlines that do not impact any Court-ordered deadlines.



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      The Clerk of Court is directed to terminate the motion at ECF No. 1439.

      SO ORDERED.

Dated: May 15, 2023
       New York, New York




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